                 Case 2:13-cv-00193 Document 775-16 Filed on 11/19/14 in TXSD Page 1 of 1
From                                            Nolte   Candace

To                                              Bodisch   Robert

Sent                                            9262013     113542   AM
Subject                                         Fwd Voter Id Mobile Stations




FYI I know we are routing these inquiries                            to   SOS     anyone    we specifically        route them to I can reach   out to Wroe of

you prefer


Sent from my iPhone



Begin forwarded message


From Dudley           Patrick                     <PatrickDudley c•dpstexas gov>
Date September 26 2013 112923 AM CDT
To Nolte Candace <CandaceNoltebdpstexas gov>
Subject       Voter Id Mobile                       Stations



Natalie     Smith from Representative Whites                          office    called   and would   like   to   know how to get mobile stations out   to their

district    Her number is 5124630490                              Thank you


PRD


Patrick       Dudley
Legislative    Coordinator

Office     of Govenunent                    Relations

Texas    Department   of Public Safety

   N Lamar Blvd
5805

PO Box 4087
Austin     TX 78773
512 4247272
patrickdudleyadpstexasgov




    2:13-cv-193
                       exhibitsticker.com




    09/02/2014

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